AO 106 (Rev. Case    2:19-mj-11350-RBM
             04/10) Application for a Search Warrant    Document 1 Filed 11/06/19 PageID.1 Page 1 of 15

                                     UNITED STATES DISTRICT COUR
                                                                     for the
                                                         Southern District of California

             In the Matter of the Search of                             )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )           Case No.
                                                                        )
     One (1) Samsung Cellular Phone - Model Z971
      Seized under FP&F No. 2020250300003702                            )                         19MJ11350
                                                                        )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its iocation):

 See Attachment A

located in the             Southern               District of               California          , there is now concealed (identify the
                                                                ------------
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
               ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                            Offense Description
        21 USC§§ 952, 960 and 963                 Importation of a Controlled Substance and conspiracy



          The application is based on these facts:



          ~ Continued on the attached sheet.
          0 Delayed notice of
            under 18 U.S.C. § 3103a, the basis of which is set forth on t~e              &-i,=:
                                     days (give exact ending date if more than 30 days: -=-~~~~~~~~-) is requested




                                                                                               Applicant's   s(gnaure
                                                                               Mohammed Rahman, SA, Dept. of Homeland Security
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: _E_I_C_e_n_tr_o_;_,_C_A_ _ _ _ _ _ __                            Hon. Ruth B. Montenegro, U.S. Magistrate Judge
                                                                                               Printed name and title
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                                  ATTACHMENT A

                           PROPERTY TO BE SEARCHED

The following property is to be searched:

            One ( 1) Samsung Cellular Phone
            Model Z971
            Seized under FP&F No. 2020250300003702
            (Target Telephone)



currently in the possession of the U.S. Department of Homeland Security, Homeland
Security Investigations, which is located at 2051 N. Waterman Avenue, El Centro,
California 92243.
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                                    ATTACHMENT B

                                  ITEMS TO BE SEIZED

      Authorization to search the Target Telephone as described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in Target Telephone for evidence described
below. The seizure and search of Target Telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

       The evidence to be seized from Target Telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from third-
party applications, photographs, audio files, videos, and location data, for the period of July
20, 2019, up to and including October 18, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substances from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-such
             as email addresses, IP addresses, and phone numbers-used to facilitate the
             importation of methamphetamine, or some other federally controlled
             substances from Mexico into the United States;

      c.     tending to identify coconspirators, criminal associates, or others involved in
             importation of methamphetamine, or some other federally controlled
             substances from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substances from Mexico into the United States;

      e.     tending to identify the user of, or persons with control over or access to,
             Target Telephone; and/or

      f.     tending to place in context, identify the creator or recipient of, or establish the
             time of creation or receipt of communications, records, or data involved in the
             activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960, and
963.
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 1   AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2         I, Mohammed Rahman, Special Agent with the United States Department o
 3   Homeland Security (DHS), Immigration and Customs Enforcement (ICE)
 4   Homeland Security Investigations (HSI), having been duly sworn, hereby state a
 5   follows:
 6                                  INTRODUCTION
 7         1.    I make this affidavit in support of an application for a warrant to searc
 8   the following electronic device, as further described in Attachment A (the "Targe
 9   Telephone"), and seize evidence of crimes, specifically, violations of Title 21
10   United States Code, Sections 952, 960 and 963, as more particularly described i
11   Attachment B:
12               One (1) Samsung Cellular Phone
                 Model Z971
13
                 Seized under FP&F No. 2020250300003 702
14               (Target Telephone)
15
     This search supports an investigation and prosecution of Dylan James WIL
16
     (WILD) and Kristina Carrillo (CARRILLO), who is presently charged wit
17
     committing violations of21 U.S.C. §§ 952 and 960. A factual explanation supportin
18
     probable cause follows.
19         2.    The Target Telephone was seized from CARRILLO by Customs an
20
     Border Protection (CBP) Officers on October 17, 2019, when she was arrested fo
21   importing methamphetamine into the United States through the Calexico West
22   California, Port of Entry (POE), in the Southern District of California. As furthe
23   explained in paragraph 15 below, CARRILLO later stated the phone belonged t
24   WILD. As described below, WILD also stated that the Target Telephone belonge
25   to him. The Target Telephone was turned over to HSI. The Target Telephone i
26   currently in the possession ofHSI, located at 2051 N. Waterman Avenue, El Centro
27
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 1   California 92243 in the Southern District of California, and has been in HSI'
 2   continuous possession and securely stored since October 18, 2019.
 3         3.     As set forth in more detail below, there is probable cause to believe tha
 4   a search of the Target Telephone will produce evidence of the aforementione
 5   crimes, as described in Attachment B.
 6         4.     The information contained in this affidavit is based upon ( 1) m
 7   experience and training, (2) my personal observations and knowledge, (3) my revie
 8   of various official reports prepared by other law enforcement officers, and ( 4
 9   consultation with other federal, state, and local law enforcement agents. Becaus
1O this affidavit is submitted for the limited purpose of establishing probable cause i
11   support of the application for a search warrant, it does not set forth each and eve
12   fact that others or I have learned during the course of this investigation.
13   times are approximate.
14                            EXPERIENCE AND TRAINING
15         4.     I am a Special Agent with HSI and have been so employed since Apri
16   201 7. I have conducted criminal investigations of or relating to narcotics smugglin
17   and other crimes. I am a graduate of the Federal Law Enforcement Training Cente
18   in Glynco, Georgia.      I have received specific training in the area of narcotic
19   investigations, and I have training and experience in the methods used by narcotic
20   traffickers to import and distribute drugs. I am presently assigned to a Huma
21   Smuggling Human Trafficking group in El Centro, California, and my duties includ
22   investigating the illicit trafficking of controlled substances into the United States o
23   America.     I am cross-designated by the United States Drug Enforcemen
24   Administration to conduct narcotics investigations and enforce the provisions of th
25   Federal Controlled Substance Act, pursuant to Title 21, United States Code.
26         5.     Through training and experience, I have become familiar with narcotic
27   trafficking techniques and the means used by narcotics traffickers to
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 1   retrieve information pertinent to their criminal activities. Based on my training an
 2   experience, as well as my consultations with other law enforcement personnel,
 3   know that drug traffickers commonly use electronic devices such as cellula
 4   telephones, personal digital assistants (PDA), and computers to store names,
 5   telephone numbers, records, drug ledgers, and other information pertaining to dru
 6   trafficking activity.
 7          6.     Through the course of my training, investigations, and conversation
 8   with other law enforcement personnel, I am aware that it is a common practice fo
 9   narcotics smugglers to work in concert with other individuals and to do so b
1O utilizing cellular telephones, pagers and portable radios to maintain communication
11   with co-conspirators in order to further their criminal activities.
12          7.     Based upon my training and experience as a Special
13   consultations with law enforcement officers experienced in narcotics smugglin
14   investigations, and all the facts and opinions set forth in this affidavit, I submit th
15   following:
16                 a.        Drug smugglers will use cellular telephones because they ar
                             mobile and they have instant access to telephone calls, text, web
17
                             and voice messages.
18
                   b.        Drug smugglers will use cellular telephones because they ar
19                           able to actively monitor the progress of their illegal cargo whil
20                           the conveyance is in transit.
21                           Drug smugglers and their accomplices will use cellul
                   C.
22                           telephones because they can easily arrange and/or determin
                             what time their illegal cargo will arrive at predetermine
23                           locations.
24
                   d.        Drug smugglers will use cellular telephones to direct drivers t
25                           synchronize an exact drop off and/or pick up time of their illega
26                           cargo.
27
                                                   3
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 1                e.     Drug smugglers will use cellular telephones to notify or wa
                         their accomplices of law enforcement activity to include th
 2                       presence and posture of marked and unmarked units, as well a
 3                       the operational status of Border Patrol checkpoints.
 4
                  f.     Drug smugglers and their co-conspirators often use cellular/mobil
 5                       telephones to communicate with load drivers who transport thei
                         narcotics and/or drug proceeds.
 6

 7                g.     Drug smugglers therefore generate many types of evidence tha
                         is stored on the cellular telephones, including, but not limited to
 8
                         emails, text messages, photographs, audio files, call logs, addres
 9                       book entries, IP addresses, social network data, and location data.
10         8.     Based upon my training and experience as a Special Agent, and
11   consultations with law enforcement officers experienced in narcotics smuggling
12   investigations, and all the facts and opinions set forth in this affidavit, I know that
13
     cellular/mobile telephones can and often do contain electronic records, phone logs
14
     and contacts, voice and text communications, and data such as emails, text
15
     messages, chats and chat logs from various third-party applications, photographs,
16
     audio files, videos, and location data. This information can be stored within disks,
17
     memory cards, deleted data, remnant data, slack space, and temporary or permanent
18
     files contained on or in the cellular/mobile telephone. Specifically, I know based
19
20   upon my training, education, and experience investigating these conspiracies that

21   searches of cellular/mobile telephones yields evidence:

22                a.     tending to indicate efforts to import methamphetamine, or som
23                       other federally controlled substances from Mexico into th
                         United States;
24
25                b.     tending to identify accounts, facilities, storage devices, and/o
                         services-such as email addresses, IP addresses, and phon
26                       numbers-used to facilitate the importation of methamphetamine
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                                                4
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 1                       or some other federally controlled substances from Mexico int
                         the United States;
 2
 3                C.     tending to identify co-conspirators, criminal associates, or other
                         involved in importation of methamphetamine, or some othe
 4
                         federally controlled substances from Mexico into the Unite
 5                       States;
 6
                  d.     tending to identify travel to or presence at locations involved i
 7                       the importation of methamphetamine, or some other federall
                         controlled substances from Mexico into the United States;
 8
 9                e.     tending to identify the user of, or persons with control over o
                         access to, the subject telephone; and/or
10
11                f.     tending to place in context, identify the creator or recipient of, o
                         establish the time of creation or receipt of communications
12
                         records, or data involved in the activities described above.
13
           9.     Subscriber Identity Module (SIM) Cards, also known as subscribe
14
     identity modules, are smart cards that store data for GSM cellular telephon
15
     subscribers. Such data includes user identity, location and phone number, networ
16
     authorization data, personal security keys, contact lists and stored text messages.
17
     Some of the evidence generated by a smuggler's use of a cellular telephone woul
18
     likely be stored on any SIM Card that has been utilized in connection with tha
19
     telephone.
20
           10.    In preparing this affidavit, I have conferred with other agents and la
21
     enforcement personnel who are experienced in the area of narcotics investigations
22
     and the opinions stated below are shared by them.            Further, I have persona
23
     knowledge of the following facts, or have had them related to me by person
24
     mentioned in this affidavit.
25
                       FACTS SUPPORTING PROBABLE CAUSE
26
27
                                                5
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 1         11.     According to CBP Officer (CBPO) C. Lopez's report, on October 17
 2   2019, at approximately 10:37 pm, WILD and CARRILLO, both United State
 3   citizens, applied for entry into the United States at the Calexico, California Wes
 4   Port of Entry (POE). WILD was the driver and registered owner of a 2000 Chevrole
 5   Blazer (the Vehicle). WILD was accompanied by his girlfriend CARRILLO, wh
 6   was the passenger in the vehicle.
 7         12.     According to his report, while assigned to primary lanes, CBPO C
 8   Lopez referred the Vehicle to Secondary Inspection due to WILD having
 9   Protection Order. According to his report, CBPO Ricardo Lopez received a negativ
1O oral Customs Declaration from both WILD and CARRILLO at seconda
11   inspection.   Then, according to his report, CBPO J. Jones' Human/Narcotic
12   Detection Dog (HNDD) alerted to the gas tank of the vehicle.
13         13.     According to CBPO R. Lopez's report, CBPO R. Lopez and Jone
14   removed the fuel tank. Subsequently, they removed plastic packages containing
15   crystalline substance that tested positive for methamphetamine. Forty (40) package
16   were removed, with a total weight of approximately 18.76 kilograms (41.36 pounds
17   of suspected methamphetamine.
18         14.     Subsequently, WILD and CARRILLO were arrested for importatio
19   of cocaine, in violation of 21 U.S.C. §§ 952 and 960.
20         15.     The Target Telephone was found on CARRILLO's person and wa
21   seized incident to her arrest. As discussed below, after being provided Mirand
22   warnings, both WILD and CARRILLO invoked.               While gathering biologica
23   information, CARRILLO stated the Target Telephone belonged to WILD an
24   WILD stated that the Target Telephone belonged to him. Task Force Officer (TFO
25   I. Moreno also noted that while gathering CARRILLO's biological information
26   TFO Moreno smelled a strong odor of gasoline coming from CARRILLO.
27
                                              6
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 1          16.   I was notified of WILD and CARRILLO's arrest, and I responded t
 2   the Calexico West Port of Entry. Upon arrival, I was provided with the Targe
 3   Telephone. I individually advised WILD and CARRILLO of their Miranda right
 4   as witnessed by TFO Moreno. Both individuals invoked their rights.
 5          17.   Based upon my experience and investigation in this case, I believe ther
 6   1s probable cause to believe that the Target Telephone contains evidence o
 7   violations of 21 U.S.C. §§ 952, 960, and 963. Specifically, I believe that WILD
 8   CARRILLO, and other persons yet unknown were involved in an ongoin
 9   conspiracy to import cocaine or some other prohibited drugs. Probable cause als
1O exists to believe that WILD and CARRILLO used the Target Telephone t
11   coordinate with co-conspirators regarding the importation and delivery of th
12   cocaine on the day of his arrest and on at least one earlier occasion, and to furthe
13   this conspiracy both inside and outside the United States. I also know that recen
14   calls made and received, telephone numbers, contact names, electronic mail ( email
15   addresses, appointment dates, text messages, pictures and other digital informatio
16   are stored in the memory of cellular telephones, which identify other person
17   involved in narcotics trafficking activities.
18         18.    Finally, I also know that narcotics trafficking activities entail intricat
19   planning to successfully evade detection by law enforcement. In my professiona
20   experience, this requires planning and coordination in the weeks and often month
21   prior to the event. This planning often includes coordination on crossing the borde
22   to develop a crossing history or pattern. Additionally, co-conspirators are ofte
23   unaware of the subject's arrest and will continue to attempt to communicate with th
24   subject after the arrest to determine the whereabouts of their valuable cargo. Thi
25   communication,     both    prior   to,   during   and   after   the   event   is   ofte
26   accomplished/attempted via cellular telephone communication(s).          Given this,
27   respectfully request permission to search the Target Device for items listed i
                                                7
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 1   Attachment B beginning on July 20, 2019, up to and including October 18, 2019
 2   which was the day following WILD and CARRILLO's arrest.
 3                                   METHODOLOGY
 4         19.    It is not possible to determine, merely by knowing the Targe
 5   Telephone's make, model and serial number, the nature and types of services t
 6   which the device is subscribed and the nature of the data stored on the device.
 7   Cellular devices today can be simple cellular telephones and text message devices,
 8   can include cameras, can serve as personal digital assistants and have functions sue
 9   as calendars and full address books and can be mini-computers allowing fo
1O electronic mail services, web services and rudimentary word processing.
11   increasing number of cellular service providers now allow for their subscribers t
12   access their device over the internet and remotely destroy all of the data containe
13   on the device.   For that reason, the device may only be powered in a secur
14   environment or, if possible, started in flight mode, which disables access to th
15   network. Unlike typical computers, many cellular telephones do not have har
16   drives or hard drive equivalents and store information in volatile memory within th
17   device or in memory cards inserted into the device. Current technology provide
18   some solutions for acquiring some of the data stored in some cellular telephon
19   models using forensic hardware and software.          Even if some of the store
20   information on the device may be acquired forensically, not all of the data subject t
21   seizure may be so acquired.      For devices that are not subject to forensic <lat
22   acquisition or that have potentially relevant data stored that is not subject to sue
23   acquisition, the examiner must inspect the device manually and record the proces
24   and the results using digital photography. This process is time and labor intensiv
25   and may take weeks or longer.
26         20.    Following the issuance of this warrant, I will collect the Targe
27   Telephone and subject it to analysis. All forensic analysis of the data containe
                                               8
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 1   within the telephone and its memory cards will employ search protocols directe
 2   exclusively to the identification and extraction of data within the scope of thi
 3   warrant.
 4          21.       Based on the foregoing, identifying and extracting data subject t
 5   seizure pursuant to this warrant may require a range of data analysis techniques
 6   including manual review, and, consequently, may take weeks or months. Th
 7   personnel conducting the identification and extraction of data will complete th
 8   analysis within 90 days of the date the warrant is signed, absent further applicatio
 9   to this court.
10                                       CONCLUSION
11          22.       Based on the facts and circumstances described above, I believ
12   probable cause exists to conclude that WILD and CARRILLO were coordinatin
13   with persons known and unknown to import methamphetamine or some othe
14   controlled substance. Probable cause therefore exists to conclude that WILD an
15   CARRILLO used the Target Telephone to facilitate violations of21 U.S.C. §§ 952
16   960 and 963.
17   II
18   II
19   II
20   II
21   II
22   II
23   II
24   II
25   II
26   II
27   II
                                                9
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 1         24.   Because the Target Telephone was seized during the investigation o
 2   WILD and CARRILLO's smuggling activities and has been securely stored, there i
 3   probable cause to believe that evidence of illegal activities committed by WILD an
 4   CARRILLO continues to exist on the Target Telephone. As stated above, I believ
 5   that the appropriate date range for this search is from July 20, 2019, up to an
 6   including October 18, 2019.
 7         25.     WHEREFORE, I respectfully request that the Court issue a warran
 8   authorizing me, a Special Agent with HSI, or another federal law enforcement agen
 9   or officer specially trained in digital evidence recovery, to search the Targe
10   Telephone described in Attachment A, and seize the items listed in Attachment B
11   using the methodology described a b o v : s = = : ~ - - - - -
12
13                                         Mohammed Rahman, Special Agent
14                                         Homeland Security Investigations
15   Subscribed and sworn to before me this        0tf:::..   day of November, 2019.
16
17
18                                         ~~o
                                           United States Magistrate Judge
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                                              10
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                                  ATTACHMENT A

                           PROPERTY TO BE SEARCHED

The following property is to be searched:

            One ( 1) Samsung Cellular Phone
            Model 2971
            Seized under FP&F No. 2020250300003 702
            (Target Telephone)



currently in the possession of the U.S. Department of Homeland Security, Homeland
Security Investigations, which is located at 2051 N. Waterman Avenue, El Centro,
California 92243.
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                                    ATTACHMENT B

                                  ITEMS TO BE SEIZED

      Authorization to search the Target Telephone as described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in Target Telephone for evidence described
below. The seizure and search of Target Telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

      The evidence to be seized from Target Telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from third-
party applications, photographs, audio files, videos, and location data, for the period of July
20, 2019, up to and including October 18, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substances from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-such
             as email addresses, IP addresses, and phone numbers-used to facilitate the
             importation of methamphetamine, or some other federally controlled
             substances from Mexico into the United States;

      c.     tending to identify coconspirators, criminal associates, or others involved in
             importation of methamphetamine, or some other federally controlled
             substances from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine,          or some other federally        controlled
             substances from Mexico into the United States;

       e.    tending to identify the user of, or persons with control over or access to,
             Target Telephone; and/or

       f.    tending to place in context, identify the creator or recipient of, or establish the
             time of creation or receipt of communications, records, or data involved in the
             activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960, and
963.
